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                                                                      July 15, 2024
Honorable Dora L. Irizarry
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                  Re: United States v. Kara Sternquist, 22-cr-473
Dear Judge Irizarry:

      I am writing to the Court with an update with respect to Ms. Sternquist’s
medical care and to respectfully request that the Court order the MDC to provide her
with her necessary medication forthwith.

        As the Court is aware, approximately 10 days ago Ms. Sternquist was moved
from one nursing home and rehabilitation center to another as a result of a complaint
filed against the original nursing home by the NYS Department of Health. Since this
move, Ms. Sternquist has not received her hormone medication and is not receiving
her oxycodone pain medication, which she normally takes every four hours. In a call
this afternoon, she explained that she is in so much pain that she cannot sleep.

        Ms. Sternquist was moved to this new facility on either July 4 or July 5, federal
and court holidays leading into a weekend. Even at the beginning of the next week,
she did not have phone access. She was first able to use the phone and speak to a
member of her defense team on July 10. After learning that she was without her
medications, a paralegal immediately alerted the U.S. Marshals and the new nursing
facility. On July 11, the paralegal was told by a member of the nursing facility that the
facility was “working on getting another doctor who can prescribe the pain
medications,” and that the pharmacy is “out of stock” of her hormone medication


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and it had been reordered. No time line was provided on when she would receive her
medications.

       On July 11, July 12, and again today, I emailed the MDC legal department
about her missing medications and related medical problems. Late this afternoon, I
received the first response from Sophia Papapetru from the MDC legal department,
stating, in full, that “I just followed up with the POC info we received and I’ll get
back to you as soon as I hear something” (sic). I understand that the government
also attempted to get information from the MDC legal department, but had no
updates to provide me.

        In addition to not receiving her hormones and pain medication, at the new
facility, Ms. Sternquist has also received no physical therapy and no indication when
physical therapy might begin; she got a new cut from her shackles, but received no
bandages; and has started having bowel incontinence that is going unaddressed. She
has still never received the appointment to address her bowel tear.

        I respectfully request that the Court order the MDC and the nursing home
facility provide Ms. Sternquist with her medication forthwith.


                                        Respectfully submitted,
                                            /s/
                                        Allegra Glashausser
                                        Assistant Federal Defender
                                        Federal Defenders of New York
                                        (212) 417-8739




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